Case 8 l€-Cv-OOQQQ-DOC-AF|\/| Document 377 Filed 11/16/17 Page 1 of 7 Page |D #:13352

1 JULIAN BACH, Ca Bar No. 162421
LAW OFFICE OF JULIAN BACH

2 7911 Warner Avenue
Huntington Beach, California 92647
3 Telephone: (714) 848-5085
Facsimile: (714) 848-5086
4
Attorney for Interested Party,
5 NEIL R ANENBERG and CAROL A ANENBERG, Trustees
of the Neil R Anenberg and Carol A Anenberg Farnily Trust
6 dated August 27, 1984
7
UNITED STATES DISTRICT COURT
8
CENTRAL DISTRICT OF CALIFORNIA
9
10
FEDERAL TRADE COMMISSION, ) Case No. 8:16-cv-00999-DOC (AFMX)
11 )
Plaintiff, ) RESPONSE IN SUPPORT OF
12 v. ) RECEIVER’S MOTION FOR ORDER
) AUTHORIZING SALE OF NEWPORT

13 DAMIAN KUTZNER, individually and as an office) BEACH REAL PROPERTY

of BROOKSTONE LAW P.C. (California),)

14 BROOKSTONE LAW P.C. (Nevada), ADVANTIS) Date: December 7, 2017
LAW P.C., and ADVANTIS LAW GROUP P.C.;) Time: 8:3() a.m.

15 VITO TORCHIA, JR., individually and as an office) Place: Courtroom 9D, 9"‘ Floor

 

of BROOKSTONE LAW P.C. (California) and) U.S. District Court
16 BROOKSTONE LAWP.C. (Nevada); JONATHAN) 411 West Fourth Street
TARK()WSKI, individually and as an officer 01) Santa Ana, CA
17 BROOKSTC)NE LAW P.C. (California) and)
BROOKSTONE LAW P.C. (Nevada), et al, )
18 )
Defendants. )
19 l
20
21
22
23
24
25
26

27 1

 

 

Case 8

\OOO\!O\U\~I>~DJ(\)>-a

NNNNNNI\)!\)>-\r-*)-¢>-»>-lr-\)-‘»-¢»_a»_a
\lO\K/l-§~WN*‘°‘O\O¢C\]O\‘J\~BWN*_‘O

16-cv-00999-DOC-AFI\/| Document 377 Filed 11/16/17 Page 2 of 7 Page |D #:13353

I. INTRODUCTION.

Interested Party NEIL R ANENBERG along with his wife CAROL A ANENBERG,
through their Family Trust dated August 27, 1984 (“ANENBERG”), is the current holder of a
third trust deed secured by the residential real property located at 300 Morning Star Lane,
Newport Beach, California 92660 (the “Morning Star Property”), based upon a $475,000.00 loan
arranged by VAL-CHRIS INVESTMENTS, INC. (“VAL-CHRIS”) to borrower Time Out
Management Ltd., LLC, a Wyoming Limited Liability Company (“Time Out") and funded by the
ANENBERG Family Trust with funds earned and saved by ANENBERG for retirement See
Declaration of Neil R Anenberg (“Anenberg Decl.”) 11 4-5.

ANENBERG’s loan was funded in good faith, without any knowledge of the alleged
wrongdoings adjudicated in this proceeding in favor of the Plaintiff FEDERAL TRADE
COMMISSION (the “FTC”), and in reliance upon the expected stream of payments required to
be made under the subject Note and Deed of Trust by Time Gut as the borrower. (Anenberg Decl.,
115)-

On May 31, 2016, the FTC commenced this proceeding against multiple Defendants,
including Defendant JEREMY FOTI (“FOTI”), who is the Manager of Time Gut. On November
15, 2016, on ex parte application of the FTC and without any notice to ANENBERG, this Court
entered a Preliminary lnjunetion With Appointment of Receiver as to Defendant FOTI (Dkt. #
153), which, among other things, covers, extends to and incorporates therein as part of the
Receivership Estate the Morning Star Property and puts a stay on all creditors from enforcing any
claim, right or interest in the Morning Star Property leave from this Court. (Anenberg Decl.,

Exhibit D, pages 31 and 34).l

 

1 In May 2017, ANENBERG sought relief from the Court’s Preliminary lnjunction on the
grounds that Time Out has not been making payments on the loans secured against the Morning Star
Property, along with the real property taxes that have and continue to come due. (Dkt. # 240). In support
of this Response, ANENBERG re-submits herewith his Declaration filed on May 16, 2017.
ANENBERG’s Motion For Relief From the Court’s Preliminary lnjunction was denied by the Court

2

 

 

Case 8:16-cv-00999-DOC-AF|\/| Document 377 Filed 11/16/17 Page 3 of 7 Page |D #:13354

 

1 Defendant FOTI and his family has and continues to reside in the Morning Star
2 Property throughout the pendency of this proceeding Since the issuance of this Court’s
3 injunction, however, Time Out has been and remains in significant payment default with its
4 obligations under the subject Note and Deed of Trust, as well as being in default with payment
5 obligations due and owing under the First Trust Deed and Second Trust Deed held by Chase,
6 along with property taxes and other liens that have been recorded against the Morning Star
7 Property. Sirnply stated, while Defendant FOTI and his family are enjoying the continued use of
8 the luxury property, no payments are being made on the mounting debts secured against the
9 Morning Star Property.
10 On September 5, 2017, this Court granted the FTC’s Motion For Summary Judgment
11 against, among others, Defendant FOTI. (Dkt. #353). Further, on September 21, 2017, final
12 judgment was entered by this Court in favor of the FTC and against Defendant FOTI. (Dkt. #360).
13 As is set forth in the Receiver’s Motion and more fully analyzed herein below, the
14 secured debt continues to increase and accumulate daily since no loan payments are being made
15 to any of the secured lienholders, leaving little room for error or continued delay with respect to
16 ANENBERG’s third trust deed and leaving little room (if any) for recovery of restitution net
17 proceeds from the sale of the Morning Star Property.
18 II. THE SALE OF THE MORNING STAR PROPERTY SH()ULD GO FORWARD
FORTHWITH.
19 The matter having now been adjudicated in favor of the FTC, cause certainly exists for
20 this Court to allow for the sale of the Morning Star Property. The equity picture for the Morning
21 Star Property at this point is dire and slim, with little prospect for recovery of restitution funds
22 after payoff to the secured lienholders, real property taxes, and costs of sale for to assist in the
:: creation of a restitution fund. If ANENBERG is going to continue to be delayed and enjoined
25 without prejudice by Order dated June 19, 2017, with the Court at that time finding that “the public
interest in ensuring that consumers receive the maximum possible restitution” outweighing the
26 Anenberg’s interest (Dkt. #264, pages 9-11).
27 3

 

 

Case 8:

\OOO\]O\UI-¥>UJ[\.)»-¢

NNNNNN[\JN>-dh-*)-¢)-¢r-a»-¢»-~»-l»-¢>-
\)O\L/l-i>L»J[\)>-‘O\OOQ\}O\LJI-bb)[\)*“~‘©

iLG-cV-OOQQQ-DOC-AFI\/| Document 377 Filed 11/16/17 Page 4 of 7 Page |D #:13355

from exercising his remedy of foreclosure, then ANENBERG supports the Receiver’s Motion and
requests that the Receiver be granted the authority to retain the necessary professional(s) to market

and sell the Morning Star Property forthwith without further delay. Further. to ensure prompt and

full cooperation and in order to maximize the value of the Morning Star Proper_ty, ANENBERG
asserts that included as part of this Court’s Order should be enough authority given to the
Receiver and his real estate professionalgs) to obtain complete and unfettered access to the
Morning Star Propepy, along with the ability to gain sole possession of the Morning Star Proper;ty

should FOTI and his family refuse to cooperate with the sale efforts.
A. Time Out Is Now In Significant Payment Default on the ANENBERG Trust

Deed As Well as The First Trust Deed, The Second Trust Deed, and Property
Taxes.
Pursuant to the terms of the subject loan documents, Time Out was to tender interest
only payments to ANENBERG in the amount of $4,947.92 per month, commencing March 15,
2016 and each month thereafter, at an interest rate more fully set forth therein. Pursuant to the
terms of the subject loan documents, the subject loan is to mature on February 15, 2019. Time Out
is now in significant payment default under the terms of the loan, with an updated total now due
and owing to ANENBERG in the amount of $612,148.93 with no payments made since June
2016, Further, Time Out is in default with payments due and owing on the first trust deed and
second trust deed held by Chase, with increasing balances due and owing on those trust deeds as
of February 2017 in the respective amounts of $3,224,607.68 and $1,023,460.90, on September
30, 2016, a Special Tax Lien was recorded against the subject property in the amount of
$1 10,963 .32, and based upon the records of the Orange County Tax Assessor, real property taxes
are in default and due and owing since 2016 in the total amount of $67,721.52.
Considering the available information, and using the Receiver’s valuation of
$6,000,000.00, and based upon the payment defaults and accumulating debt secured against the
subject property, there appears to be little equity in the Morning Star Property, calculated as

follows:

 

 

Case 8:

\OOO\]O\\J\-{>~L)Jl\.)i-a

NNNNN[\)[\)[\)i-¢)-¢r-a»-¢)-~»-a»-»_¢,_.i,_i
\}O\Ul-PWNHO\COO\]G\\J\-L>UJN*'"O

 

_6-cV-00999-DOC-AFI\/| Document 377 Filed 11/16/17 Page 5 of 7 Page |D #:13356

Name of Holder Amount Owed
Taxes: County of Grange $ 67,721.52
lst Deed of Trust: Chase $ 3,297,000.00
2“d Deed of Trust Chase $ 1,023,460.90
3’°‘ Deed of Trust: Anenberg $ 612,148.93
Other: Special Tax Lien GSFA Community $ 110,963.32
TOTAL DEBT: $ 5,111,294.67
Less: Costs of Sale (8% of asserted value) $ 480,000.00
Possible Equity § 408,705.33 (7%)

Simply put, if the Receiver is going to net anything from the sale of the Morning Star
Property for the benefit of a consumer restitution fund, the sale needs to be accomplished as soon
as possible since the unpaid secured obligations and tax liens continue to increase while unpaid.
B. Alternatively, ANENBERG As A Bona Fide Good Faith Encumbrancer
Without Knowledge or Participation In Any Of The Alleged Wrongdoing and
Thus Should Be Allowed To Proceed With His Remedy Of Foreclosure
Available Under California Law.
ln the alternative, should it be determined by the Receiver and/or the Court that there
is not sufficient equity in the Morning Star Property to liquidate for the benefit of victims,

ANENBERG, who funded his loan secured by a third trust deed in good faith, with hard earned

funds intended for his family’s retirement years, without any knowledge or participation of the
wrongdoings adjudicated in this proceeding, should be allowed to proceed forthwith with his legal
remedy available under California law to foreclose under the power of sale conferred in the Deed

_o_f_'l_`_r_u_st. Under California law, if a borrower defaults on the loan and the deed of trust contains
a power of sale clause, the lender can non-judicially foreclose McDonald v. Smoke Creek Live
Stock Co., (1930) 209 Cal. 231. Here, as noted herein above, Time Out is now in significant
payment default under the terms of the ANENBERG loan, with no payments made since June
201 6. He too should not become an additional victim of the wrongdoings successfully adjudicated

by the FTC in this proceedingl

 

Case 8

\OOO\IO\U\-i>l.»~)l\)

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

16-cv-00999-DOC-AF|\/| Document 377 Filed 11/16/17 Page 6 of 7 Page |D #:13357

III. CONCLUSI()N.

For the reasons stated above, the Receiver’s Motion should be granted forthwith with
the Receiver given the necessary authority to retain the necessary professional(s) to market and
sell the Morning Star Property forthwith without further delay. Further, to ensure prompt and full
cooperation and in order to maximize the value of the Morning Star Property, enough authority
should be given to the Receiver and his real estate professional(s) to obtain complete and
unfettered access to the Morning Star Property, along with the ability to gain sole possession of
the Morning Star Property should FOTI and his family refuse to cooperate with the sale efforts.

Alternatively, if the Receiver and his real estate professionals determine that the
Morning Star Property cannot be sold for an amount sufficient to pay off the debt secured against
the property, then ANENBERG should be allowed to proceed with his legal remedy of foreclosure
as provided for under California law.

Dated: November 16, 2017 Respectfully submitted,
LAW O ICE OF JULIAN BACH

 

JULIAN CH

Attorney erested Party,

NElL R ENBERG and CAROL A
ANENBERG, Trustees of the Neil R
Anenberg and Carol A Anenberg Family

Trust dated August 27, 1984

 

 

Case 8:1`6-cv-00999-DOC-AF|\/| Document 377 Filed 11/16/17 Page 7 of 7 Page |D #:13358

p._¢

CERTIFICATE OF SERVICE
l hereby certify that on November 16, 2017, I caused the foregoing to be electronically
filed with the Clerk of the Court using the CM/ECF system, which will send notification of the
filing to all participants in the case who are registered Cl\/.[/EMC users.

/s/ Julian Bach
Julian Bach

\OOO\IO\U\-LL»[\)

N[\)!\)!\JNN[\JI\J»-l>-‘r-¢i-a»-¢»-¢)-¢>-¢»-d>-¢
\lO\kh-¥>U)[\J#-‘O\DQO\)O\U!-£>QJN*_‘C>
\]

 

 

